Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 1 of 13
     Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 2 of 13




officials: Abdullah al Jaithen, Musaed al Jarrah, Smail Mana, Adel al Sadhan, Mutaeb al

Sudairy, Mohamed al Muhanna, and Sharif Batikhi. See Plaintiffs’ October 26, 2018 Letter.

       Plaintiffs requested a broad array of discovery. Among other things, they sought

documents concerning the officials’ travel, compensation, residences within California, tasks and

activities, visa records, supervisors and supervisees, and “meeting[s], communication[s],

contact[s], transaction[s], or relationship[s]” with seven different individuals or categories of

individuals. Id., App. 1, at 1–2. Those persons included: Bayoumi, Thumairy, Khalid al

Sowailem, Abdussattar Shaikh, Caysan Bin Don, any officer or employee at the King Fahad

Mosque, and any of the 9/11 hijackers. Id. at 2.

       Based on the limited jurisdictional inquiry authorized by Judge Daniels — that is,

whether Thumairy, Bayoumi, and their agents took actions in 2000, at the direction of more

senior Saudi officials, to assist the 9/11 hijackers — the Court allowed discovery regarding

Jarrah, Mana, and Muhanna. March 28 Order, at 23; November 29 Order, at 1. The Court denied

Plaintiffs’ request as to the remaining officials, with an opinion and order to follow. November

29 Order, at 2. This decision resolves Plaintiffs’ motion to vacate and provides the reasoning

underlying the disputed portions of the November 29 Order.

                                          DISCUSSION

I.     Preliminary Issues

       Plaintiffs move to vacate the Court’s decision denying supplemental discovery regarding

Jaithen, Sadhan, Sudairy, and Batikhi. They argue that new evidence produced by the Federal

Bureau of Investigation (“FBI”) shows that these individuals had key ties to the 9/11 hijackers.




                                                      2
     Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 3 of 13




Pl’s Br., at 1. 2 Plaintiffs do not identify the procedural basis for their motion, but contend that

they were unable to move for reconsideration without the Court’s written decision. Id. at 1, n.1.

Saudi Arabia disagrees, arguing that Plaintiffs’ motion should be construed as a motion for

reconsideration and denied as untimely and procedurally improper.

        Under Local Civil Rule 6.3, a motion for reconsideration must be served within 14 days

after the entry of the Court’s determination of the original motion. The moving party is also

prohibited from submitting affidavits unless directed by the Court. Even assuming that Rule 6.3

is controlling, it does not require the Court to deny Plaintiffs’ motion.

        “When an act . . . must be done within a specified time, the court may, for good cause,

extend the time . . . on motion made after the time has expired if the party failed to act because of

excusable neglect.” Fed. R. Civ. P. 6(b)(1)(B). This determination is an equitable one, taking into

account all relevant circumstances surrounding the party’s omission. Beckles v. City of New

York, No. 08-CV-3687 (RJH) (JCF), 2010 WL 1841714, at *3 (S.D.N.Y. May 10, 2010) (citing

Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 395 (1993)). Courts

consider: (1) the danger of prejudice to the opposing party; (2) the length of the delay and its

potential impact on judicial proceedings; (3) the reason for the delay, including whether it was in

the reasonable control of the movant; and (4) whether the movant acted in good faith. Id. The

third factor is often the most important, as the “equities will rarely if ever favor a party who

fail[s] to follow the clear dictates of a court rule.” Silivanch v. Celebrity Cruises, Inc., 333 F.3d

355, 366 (2d Cir. 2003) (citations omitted).




2
 Citations to “Pl’s Br.” refer to Plaintiffs’ August 5, 2019 motion to vacate; those to “Def’s Br.” refer to
Saudi Arabia’s August 19, 2019 opposition; and those to “Pl’s Reply Br.” refer to Plaintiffs’ August 27,
2019 reply.
                                                          3
Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 4 of 13
    Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 5 of 13




than a month later. See ECF No. 3669-1 (“9/11 Comm’n Report”), at 215. In addition, Bayoumi

and Jaithen’s interaction may have also involved Thumairy. The motel was in “close proximity”

to the King Fahad Mosque, where Thumairy worked, and

                                              Id., at 3; Supp. Hunt Decl., Ex. 5, at 4.

       These allegations do not establish a reasonable basis to conduct supplemental discovery

regarding Jaithen. In their moving papers, however, Plaintiffs submit newly obtained evidence

from the FBI. These documents — combined with Plaintiffs’ previous submissions and

evaluated in light of the record as a whole — compel additional searches regarding Jaithen and

his relationship with Bayoumi and Thumairy.

       The FBI produced                                           . The

                     along with

      . See Supp. Hunt Decl., ¶¶ 12–13; Ex. 7, at 346.

         Dallah Avco, to whom Bayoumi was seconded during his time in the United States. Id.,

¶ 12. This confirms that                       , and more importantly, suggests that

                                                         .

       The FBI also produced                                 . See Third Supplemental Declaration

of Catherine Hunt (“Third Supp. Hunt Decl.”), ¶ 2.

                                                                . This included:




                                                                                                .

Id., ¶¶ 10–12; 9/11 Comm’n Report, at 221 & n.33; July 22, 2019 Opinion & Order on Plaintiffs’



                                                     5
       Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 6 of 13




Motion to Compel (“MTC Order”), at 50–51.



                                                                           See January 8, 2019

Reply Declaration of Steve Pounian, Ex. 69,                .

                     shine a new light on Bayoumi’s December 20 motel stay with Jaithen. The

two men interacted

                                                . This increases Jaithen’s importance to Plaintiffs’

allegations as a whole. While not all of Bayoumi’s contacts warrant additional searches, his stay

with Jaithen is noteworthy. Bayoumi is not a MOIA employee, and Saudi Arabia offers no

explanation for his interaction with Jaithen. Moreover, Jaithen is more senior than Thumairy at

the Ministry of Islamic Affairs. As a result, questions about Thumairy and Bayoumi’s

interactions with Jaithen, shortly before the hijackers arrived, go directly to the heart of

Plaintiffs’ jurisdictional inquiry; that is, whether a higher-ranking Saudi official gave instructions

to assist the hijackers.

         Plaintiffs also emphasize a 2009 electronic communication produced by the FBI. The

communication provides

                                        July 18 Ltr., Ex. 1,        . It states, among other things,

that

Id.            . The FBI redacted the remainder of the document,

                           . Id.                                                               The

Court is generally unwilling to draw inferences based on conclusory investigative findings or

redacted portions of government records. Nevertheless, although not instrumental to the Court’s

conclusion, the



                                                      6
       Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 7 of 13




         .

         The Court must conduct jurisdictional discovery circumspectly and only to verify

allegations of specific facts crucial to an immunity determination. March 28 Order, at 7; MTC

Order, at 4–11; accord EM Ltd. v. Republic of Argentina, 473 F.3d 463, 486 (2d Cir. 2007).

Plaintiffs have met this burden. They allege a specific fact crucial to their limited inquiry: that

Jaithen, a MOIA official senior to Thumairy, traveled from Saudi Arabia to meet with Bayoumi,

an employee of an unrelated Saudi ministry, shortly before the hijackers arrived,



                                     This allegation (unlike those discussed below) is supported by

the factual record. In addition, it targets the core of Plaintiffs’ jurisdictional inquiry, which

focuses on whether Saudi officials directed Bayoumi and Thumairy to assist the hijackers. Under

these circumstances, supplemental discovery regarding Jaithen is warranted.

III.     Adel al Sadhan and Mutaeb al Sudairy

         Sadhan and Sudairy were MOIA propagators living in the United States between 1998

and 2002. See Supp. Hunt Decl., Ex. 16, at 559.




                                                               Id., Ex. 7,      ; Plaintiffs’

September 9, 2019 Letter (“Sept. 9 Ltr.”), Ex. 1,            Ex. 3,

         In addition, a 2015 FBI report stated that Bayoumi “[a]ssisted” Sadhan and Sudairy while

they were in San Diego. Supp. Hunt Decl., Ex. 13, at 101. Other documents support this

assertion.



                                                       7
     Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 8 of 13




                                                                               . See Sept. 9 Ltr, Ex. 2,

     ; accord November 25, 2019 Opinion & Order, at 16. According to Plaintiffs,



             Id.



                Sept. 12 Ltr., Ex. D. While acting as propagators in California, Sadhan and

Sudairy                                                       . Supp. Hunt Decl., Ex. 15, at 6903.

        This evidence connects Sadhan and Sudairy to Bayoumi and Thumairy. Plaintiffs fail,

however, to provide concrete allegations that either official assisted the hijackers. Plaintiffs

attempt to do so in two ways: first, by arguing that Sadhan and Sudairy were

                                                                           ; and second, by arguing

that Bayoumi arranged for them to live in the same five-room boarding house as the hijackers

during the summer of 2000. Pl’s Br., at 5–6. Neither argument is convincing.

        The evidence suggests that Sadhan and Sudairy



                                                        Sept. 9 Ltr., Ex. 2,



                                                         . See Sept. 12 Ltr., at 2–3. Moreover,



        , and a TD Waterhouse application shows that Sudairy was living in Virginia by

September                . Id., Ex. D; Supp. Hunt Decl., Ex. 19, at 112072.



4
 Saudi Arabia disputes the accuracy of Plaintiffs’ translation. See September 12, 2019 Letter, at 2 (“Sept.
12, Ltr.”). Even assuming Plaintiffs are correct, the letter does not warrant broad discovery of Sadhan and
Sudairy.
                                                         8
     Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 9 of 13




         Sept. 9 Ltr., Ex. 1,        Accordingly, the evidence suggests that Sadhan and Sudairy

visited San Diego

                                                                   . Although



                                                                           . See MTC Order, at 50.



            Id. As discussed above, however, Sadhan and Sudairy were already in the United

States by                  and therefore                                                 It is also

unclear that it was

       . Id. at 50–51. This lessens the importance of Plaintiffs’ broad discovery requests,

especially as the Court has already ordered Saudi Arabia to search for documents

                           . Id.

       Plaintiffs contend that, in the summer of 2000, Bayoumi arranged for Sadhan and Sudairy

to live in the same five-room boarding house as the hijackers. They emphasize a government

report produced by the FBI. The report states that

                                                                        See July 18 Ltr., Ex. 2,

      The report

         Id. The only evidence that either official lived in the boarding house is a conclusory

statement from Plaintiffs’ investigator, Catherine Hunt. See Hunt Decl., ¶ 30. But Hunt does not

explain the basis for her conclusion, and the document production indicates that Sadhan and

Sudairy were in San Diego                  , not the summer of 2000. Indeed, the 2015 FBI report

suggests that the hijackers were in San Diego at a different time than Sadhan and Sudairy. See



                                                     9
      Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 10 of 13




Supp. Hunt Decl., Ex. 13, at 101 (“[Bayoumi] [a]ssisted al-Hazmi and al-Mihdhar as well as al-

Sadhan and al-Sudairy during their respective times in San Diego.”) (emphasis added).

        Thus, both of Plaintiffs’ key allegations are undercut by the factual record. This

distinguishes Plaintiffs’ claims from those against Jaithen and cautions against broad discovery.

Given the Court’s obligation to conduct jurisdictional discovery narrowly, the Court concludes

that Plaintiffs’ supplemental document requests regarding Sadhan and Sudairy are inappropriate.

IV.     Sharif Batikhi

        Plaintiffs allege that Sharif Batikhi is a MOIA employee, the imam of the Islamic Center

of San Diego (“ICSD”), and “very close friends” with Bayoumi. Pl’s Br., at 7. Plaintiffs further

allege that                                                                               For

example,



                                          See Third Supp. Hunt Decl., ¶ 13.



                                                                 Id.

        While these allegations                               , they provide no basis to conclude

that Batikhi assisted the hijackers, or directed others to do the same. Plaintiffs’ arguments to the

contrary are unavailing. First, Plaintiffs contend that the ICSD was the center of the hijackers’

support network. Pl’s Br., at 7–8. The Court previously rejected this argument when it denied

Plaintiffs’ request for discovery regarding the ICSD. See MTC Order, at 49. The Court found

that Plaintiffs’ allegations were based “largely on speculation and guilt-by-association.” Id.

Plaintiffs repeat those allegations here, citing the same claims from the same declaration. Just as




                                                     10
    Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 11 of 13




these arguments were insufficient to warrant discovery regarding the ICSD, they are also

insufficient to warrant even broader discovery regarding its imam, Sharif Batikhi.

       Second, Plaintiffs emphasize a July 2003 FBI report regarding

                                  See MTC Order, at 34. The report indicates that



             Id. at 35.

                                                    . Id.

                                                                . Id.

                    Id.

       The Court directed Saudi Arabia to search for documents from the Offices of Prince

Abdulaziz regarding (1) the identity of Thumairy’s supervisors; and (2) any tasks or directives

issued to Thumairy, including any instructions regarding

                            . MTC Order, at 36. To the extent Saudi Arabia has documents

explaining                                      , they will be produced. No further relief is

warranted. Plaintiffs do not allege (let alone provide evidence) that Batikhi

                          Therefore, despite its relevance to

              the report does not support broad discovery regarding Batikhi.

       Finally, Plaintiffs point to a December 2002 congressional report. The report states that,

in approximately 1998, the FBI became aware of millions of dollars in wire transfers from the

Somali community in San Diego to businesses affiliated with Usama Bin Ladin. See November

30, 2018 Declaration of Steven Pounian, Ex. 56, at 25–26. The FBI believed that “some of the

funding” originated from Saudi Arabia and that both the King Fahad Mosque and the ICSD were

involved in laundering the money first to Somali non-profits and then to other entities connected



                                                        11
    Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 12 of 13




with Bin Laden. Id. Plaintiffs argue that

                                             Pl’s Reply Br., at 9. They note, for example, that

                                                                                     . Id.

       The 2002 report does not alter the Court’s conclusion. Plaintiffs did not raise this issue in

their moving papers, depriving Saudi Arabia an opportunity to respond. It also unclear whether

the two reports are related: the alleged money laundering took place before 1998, while

                                                                                             . In any

event, Judge Daniels denied jurisdictional discovery against Saudi Arabia based on similar

allegations. See March 28 Order, at 31. Judge Daniels emphasized that Plaintiffs failed to show

that “any of the support the charities provided al Qaeda or its operatives was used to help fund or

facilitate the 9/11 Attacks in any meaningful way.” March 28 Order, at 37. The same reasoning

applies here. At bottom, Plaintiffs contend that Batikhi’s mosque gave money to a non-profit

organization which later provided financial support to businesses associated with Bin Laden.

While relevant to an extent, this does not suggest that Batikhi was personally involved in any

money laundering, or more importantly, that the funding was used to support the hijackers.

       Like those against Sadhan and Sudairy, Plaintiffs’ allegations are speculative and

undercut by the factual record. Although the 2003 FBI report raises questions about Saudi

Arabia’s production, the Court has already directed the Kingdom to conduct additional searches.

The Court will not order broad, untailored discovery regarding Batikhi in these circumstances.

                                            CONCLUSION

       Plaintiffs’ motion is GRANTED in part and DENIED in part. Within 14 days of this

Opinion & Order, the parties are directed to meet-and-confer regarding the scope of Saudi

Arabia’s document production. The parties’ discussion should be consistent with the Court’s July



                                                      12
    Case 1:03-md-01570-GBD-SN Document 6580 Filed 01/03/20 Page 13 of 13




22, 2019 decision regarding Saudi Arabia’s motion to limit supplemental discovery. Saudi

Arabia is directed to search for and produce any responsive documents within 30 days of the

completion of the parties’ meet-and-confer.

       Plaintiffs’ motion for oral argument is DENIED as moot. The Clerk of the Court is

respectfully directed to terminate the gavel at ECF No. 5022.

SO ORDERED.




DATED:        January 3, 2020
              New York, New York




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